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                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------- x
                                                                   :
  UNITED STATES OF AMERICA
                                                                   :
                                                                        1:18-cv-00204 (NGG)
           v.                                                     :
                                                                        NOTICE OF MOTION TO
  CLARE BRONFMAN                                                  :     ADMIT COUNSEL
                                                                        PRO HAC VICE
                    Defendant.                                    :

                                                                   :
  ---------------------------------------------------------------- x

  To:

           Tanya Hajjar
           Shannon Cassandra Jones
           Mark Joseph Lesko
           United States Attorneys Office
           Criminal Division
           Eastern District of New York
           271 Cadman Plaza East
           Brooklyn, NY 11201-1820


           PLEASE TAKE NOTICE that upon the annexed affidavit of movant in support of this

  motion and the Certificates of Good Standing annexed thereto, I, Ronald S. Sullivan, Jr.,

  respectfully move this Court pursuant to Rule 1.3(c) of the Local Rules of the United States District

  Court for the Eastern District of New York for an order allowing the admission of movant, a

  member of the firm Ronald Sullivan Law and a member in good standing of the bars of the District

  of Columbia and Georgia, as attorney pro hac vice to argue or try this case in whole or in part as

  counsel for Defendant Clare Bronfman. There are no pending disciplinary proceedings against me

  in any state or federal court.
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  Dated: June 29, 2020                  Respectfully submitted,




                                         ___________________
                                        Ronald S. Sullivan, Jr.
                                        712 H Street NE, Suite 1354
                                        Washington DC 20002
                                        Tel: (202) 873-9120
                                        Fax: (202) 863-1459
                                        rsullivan@ronaldsullivanlaw.com

                                        Counsel for Defendant Clare Bronfman




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